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10
                          UNITED STATES DISTRICT COURT
11
                       SOUTHERN DISTRICT OF CALIFORNIA
12
13   IN RE OUTLAW LABORATORIES,           Case No.: 18-cv-840-GPC-BGS
     LP LITIGATION
14                                        COUNTER-DEFENDANT TAULER
15                                        SMITH LLP’S OPPOSITION TO THE
                                          OUTLAW DEFENDANTS’ EX PARTE
16                                        MOTION TO PREVENT TAULER
17                                        SMITH’S DISCLOSURE OF
                                          PRIVILEGED MATERIALS
18
                                          Judge:     Hon. Gonzalo P. Curiel
19
                                          Courtroom: Courtroom 2D
20
                                          Filed Concurrently:
21
                                             1. Declaration of Kevin J. Cole; and
22                                           2. Motion to File Document Under Seal
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     TAULER SMITH LLP’S OPPOSITION TO THE OUTLAW DEFENDANTS’ EX PARTE MOTION
          TO PREVENT TAULER SMITH’S DISCLOSURE OF PRIVILEGED MATERIALS
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 1         At the outset, Counter-Defendant Tauler Smith LLP (“Tauler Smith”) does not take
 2 the position—and it never would—that it be permitted to disclose privileged materials. So,
 3 although Tauler Smith opposes Outlaw Laboratory, L.P.’s, Michael Wear’s, and Shawn
 4 Lynch’s (collectively, “Outlaw”) Ex Parte Motion to Prevent Tauler Smith’s Disclosure of
 5 Privileged Materials (ECF # 321), it does so (i) to correct the record as to Outlaw’s
 6 suggestion that Tauler Smith produced privileged materials (Tauler Smith did not), (ii)
 7 because there has been no showing by Outlaw that the e-mails it complains about are
 8 actually privileged, (iii) because Outlaw already waived any objections it had, and (iv)
 9 because Outlaw’s Ex Parte is procedurally defective.
10         For these reasons, and as discussed below, Tauler Smith respectfully requests the
11 Court deny Outlaw’s Ex Parte.
12    I.   THE EX PARTE MISLEADINGLY SUGGESTS TAULER SMITH
13         DISCLOSED PRIVILEGED MATERIALS
14         Outlaw misleadingly suggests that Tauler Smith disclosed certain privileged
15 material (Exhibits R & S, two of Tauler Smith’s intended trial exhibits). That is simply
16 untrue.
17         First, Exhibit R is a compilation of various e-mails between Tauler Smith attorneys
18 (including its managing partner, Robert Tauler) and its former client, Outlaw. See
19 Declaration of Kevin J. Cole (“Cole Decl.”), ¶ 2. Critically, Tauler Smith has not disclosed
20 this exhibit to anyone other than Outlaw. Without conceding those emails are privileged,
21 Tauler Smith recognized they could potentially implicate the attorney-client privilege. Id.,
22 ¶ 3. Tauler Smith identified Exhibit R in its Rule 26(a)(3) Disclosures, see ECF # 309 at
23 PageID.7750, but purposely did not produce that exhibit during its October 15, 2020
24 pretrial meeting of counsel with the Stores (Outlaw did not participate in that). See Cole
25 Decl., ¶ 3. Instead, Tauler Smith produced Exhibit R to Outlaw’s counsel only on October
26 19, 2020, as part of its meet and confer over privilege concerns. See id., ¶ 4 & Ex. A (“As
27 for the emails, we have not produced Exhibit R yet. I’ll send those to you soon (and you
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 1 only) . . . Sean: Just shared a Dropbox folder link with you (and you only), which contains
 2 the emails we intend to introduce as Exhibit R.”).
 3         Second, Exhibit S (which is also identified in Tauler Smith’s Rule 26(a)(3)
 4 Disclosures, see ECF # 309 at PageID.7750) is an e-mail exchange between Eric Boss (an
 5 attorney whose law firm provided financing to Outlaw), Outlaw’s principals, Outlaw’s
 6 current counsel (Sean Reagan), Mr. Tauler, and Wes Taulbee (one of Outlaw’s Georgia-
 7 based attorneys). See Cole Decl., Ex. B (redacted and filed separately under seal). It is
 8 difficult to see how this e-mail exchange—which includes someone who does not represent
 9 Outlaw (Eric Boss)—is privileged. Tauler Smith did produce Exhibit S during its October
10 15, 2020 pretrial meeting of counsel with the Stores, but files that exhibit under seal here
11 (out of caution due to Outlaw’s claims).
12   II.   OUTLAW DOES NOT ESTABLISH WHY THE EXHIBITS IT COMPLAINS
13         ABOUT ARE PRIVILEGED
14         As the party claiming privilege, Outlaw bears the burden of demonstrating that the
15 attorney-client privilege applies. See, e.g., Costco Wholesale Corp. v. Superior Court, 47
16 Cal.4th 725, 733 (2009) (“The party claiming the privilege has the burden of establishing
17 the preliminary facts necessary to support its exercise, i.e., a communication made in the
18 course of the attorney-client relationship.”). Outlaw has not met its burden.
19         First, although the e-mails in Exhibit R are between Tauler Smith and its then-client
20 (Outlaw), any privilege protecting those e-mails has been waived because Outlaw (the
21 party claiming the attorney-client privilege) has placed “vitally relevant” communications
22 at issue (its discussions with Tauler Smith) by agreeing to testify against Tauler Smith (its
23 former attorneys) in this case. See Merritt v. Superior Court, 9 Cal.App.3d 721, 730-31
24 (1970) (California courts may find an implied waiver where the party claiming the
25 attorney-client privilege has placed a “vitally relevant” communication at issue; if the
26 communication goes to the heart of the claim in controversy, “fundamental fairness” may
27 require that it be disclosed for the litigation to proceed); see also Schlumberger Ltd. v.
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     TAULER SMITH LLP’S OPPOSITION TO THE OUTLAW DEFENDANTS’ EX PARTE MOTION
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 1 Superior Court, 115 Cal.App.3d 386, 393 (1981) (“[I]t was not merely the initiation of the
 2 lawsuit but rather the manner of its prosecution which constituted the waiver”).
 3         Second, as explained above, it is difficult to see how the e-mails in Exhibit S (Cole
 4 Decl., Ex. B, filed under seal) are privileged—they include someone (Eric Boss) who does
 5 not represent Outlaw.
 6         Regardless, as established below, Outlaw’s objections to Exhibits R & S are waived.
 7 III.    OUTLAW ALREADY WAIVED ANY OBJECTIONS IT HAD TO TAULER
 8         SMITH’S EXHIBITS
 9         Any objections Outlaw had to Tauler Smith’s exhibits, including the exhibits at issue
10 here (Exs. R & S), needed to be raised through objections to Tauler Smith’s Rule 26(a)(3)
11 Disclosures. Outlaw failed to do so, and therefore waived any objections it might have
12 had. See Fed. R. Civ. P. 26(a)(3)(B) (providing that within fourteen days after a party’s
13 pretrial disclosures, an opposing party may serve and file objections to the admissibility of
14 any document or exhibit or deposition testimony; “An objection not so made—except for
15 one under Federal Rule of Evidence 402 or 403—is waived unless excused by the court
16 for good cause.”) (emphasis added).
17         Outlaw has not shown good cause for its failure to timely object—and it does not
18 even attempt to make that showing in its Ex Parte. Outlaw’s Ex Parte should be denied
19 for this reason alone.
20 IV.     OUTLAW’S EX PARTE IS PROCEDURALLY DEFECTIVE
21         Civil Local Rule 83.3.g establishes the requirements for ex parte motions:
22
           A motion for an order must not be made ex parte unless it appears by affidavit
23         or declaration (1) that within a reasonable time before the motion the party
           informed the opposing party or the opposing party’s attorney when and where
24
           the motion would be made; or (2) that the party in good faith attempted to
25         inform the opposing party and the opposing party’s attorney but was unable
26         to do so, specifying the efforts made to inform them; or (3) that for reasons
           specified the party should not be required to inform the opposing party or the
27         opposing party’s attorney.
28 See Civ. L.R. 83.3.g.2.
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 1        Because Outlaw’s Ex Parte does not comply with any of these requirements, it
 2 should be denied for this additional reason.
 3   V.   CONCLUSION
 4        For all these reasons, Tauler Smith respectfully requests the Court deny Outlaw’s
 5 Ex Parte to Prevent Tauler Smith’s Disclosure of Privileged Materials.
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     DATED: November 2, 2020              Respectfully submitted,
 7
 8                                        KJC LAW GROUP, A.P.C.

 9                                  By:   /s/ Kevin J. Cole
                                          Attorneys for Counter-Defendant
10                                        Tauler Smith LLP
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 1                              CERTIFICATE OF SERVICE
 2        I hereby certify that I electronically filed, or caused to be filed, the foregoing with
 3 the Clerk of the Court for the United States District Court for the Southern District of
 4 California by using the CM/ECF system on November 2, 2020. I further certify that all
 5 participants in the case are registered CM/ECF users and that service will be accomplished
 6 by the CM/ECF system.
 7        I certify under penalty of perjury that the foregoing is true and correct. Executed on
 8 November 2, 2020.
 9                                         KJC LAW GROUP, A.P.C.

10                                  By:    /s/ Kevin J. Cole
                                           Attorneys for Counter-Defendant
11                                         Tauler Smith LLP
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